Ernest H. Mills, Petitioner v. Commissioner of Internal Revenue, Respondent; Ernest H. Mills and Loretta E. Mills, Petitioners v. Commissioner of Internal Revenue, RespondentMills v. CommissionerDocket Nos. 2872-68, 2873-68United States Tax Court54 T.C. 608; 1970 U.S. Tax Ct. LEXIS 180; March 25, 1970, Filed *180 Decision will be entered for the respondent.  T made payments to his former wife pursuant to a divorce decree and "property settlement" agreement incorporated therein.  Held, such payments were in respect of a division of property pursuant to Oklahoma law and are not deductible under sec. 215, I.R.C. 1954, as alimony described in sec. 71.  David H. Loeffler, for the petitioners.Robert S. Leigh, for the respondent.  Raum, Judge.  RAUM*609  The Commissioner determined deficiencies in the petitioners' income tax in the years and amounts as follows:PetitionerYearDeficiencyErnest H. Mills1959$ 783.001962733.55Ernest H. Mills and Loretta E. Mills1963272.671964737.95At issue is whether payments made by petitioner Ernest H. Mills to his former wife Nell Mills pursuant to a divorce decree and "property settlement" agreement are deductible to him under section 215, I.R.C. 1954, as alimony described in section 71, I.R.C. 1954.FINDINGS OF FACTThe facts stipulated by the parties are incorporated herein by this reference.The petitioners, Ernest H. Mills and Loretta E. Mills, are husband and wife.  They resided in Bristow, Okla. at the time of filing their*182  petition herein.Ernest H. Mills filed a separate individual income tax return for the taxable year 1959 with the district director of internal revenue, Oklahoma City, Okla.  During the years 1962, 1963, and 1964 Ernest H. Mills was married to Loretta E. Mills, and they filed joint income tax returns for the taxable years 1962, 1963, and 1964 with the district director of internal revenue, Oklahoma City, Okla.Ernest H. Mills and Nell Mills were lawfully married on May 24, 1930, and were husband and wife until August 24, 1959, when they were duly divorced by a decree of the District Court of Creek County, Okla.In his petition for the divorce, petitioner stated, among other things, that he and his wife had entered into a written "property settlement" agreement "for the settlement and division of the real and personal property acquired by the parties during their marriage"; and petitioner asked that the court approve and confirm this agreement.  The property settlement agreement referred to in the petition for divorce was entered into by the parties on August 21, 1959, and provided:PROPERTY SETTLEMENT AGREEMENTThis agreement made and entered into this 21 day of August, 1959, by and*183  between Nell Mills, Party of the First Part, and Ernest H. Mills, Party of the Second Part, Witnesseth:Whereas, Ernest H. Mills has indicated his intention to file an action in the District Court of Creek County, Oklahoma, praying for a decree of absolute *610  divorce from Nell Mills, his wife, and for a division and settlement of the property acquired by the parties hereto during their married life,And, Whereas, the parties hereto are desirous of entering into an amicable and equitable agreement for the division and settlement of their said property, subject to the approval of the court;Now, therefore, for and in consideration of the premises aforesaid, the mutual covenants and promises hereinafter mentioned, and the sum of One Dollar ($ 1.00) in hand paid by each party to the other, receipt of which is hereby acknowledged, the parties hereto agree as follows:1. It is agreed by and between the parties that the reasonable value of Nell Mills' fair share of the property now owned by the parties, jointly or severally, which was acquired during their married life, is $ 90,000.00; and the parties desiring not to divide their property in kind; therefore, in lieu thereof, Ernest*184  H. Mills agrees to pay to Nell Mills, and Nell Mills agrees to accept, as a full and complete property division and settlement, the total sum of $ 90,000.00, to be payable as follows: $ 30,000.00 to be paid by Cashier's Check at the time the decree of divorce in said action is granted, and thereafter, $ 4,000.00 per year for fifteen (15) years payable on or before the 31st day of August of each year, beginning August 31, 1960, which sums may be deposited to the credit of Nell Mills in the Utica Square National Bank, Tulsa, Oklahoma.  In addition thereto, Nell Mills is to have the living room and two bedroom suites of furniture now located in the family home and the parties' 1955 model Oldsmobile automobile.2. It is further agreed that the Court in the action above mentioned shall decree a lien upon all real estate which Ernest H. Mills may now own, to secure the payment to Nell Mills of the said $ 60,000.00 payable as aforesaid at $ 4,000.00 per year for fifteen (15) years, except the following described real estate located in Creek County, Oklahoma, which shall be exempt from the operation of said lien:The Southeast Quarter (SE/4) of the Northeast Quarter (NE/4) of Section Thirty*185  (30), Township Fifteen North (15N), Range Nine East (9E), andFive (5) acres in the Southwest corner of the SouthwestQuarter (SW/4) of the Northwest Quarter (NW/4) of Section Thirteen (13), Township Fourteen North (14N).Range Ten East (10E).3. Nell Mills further agrees that, hereafter all property, whether real or personal heretofore owned by Ernest H. Mills personally, or by the parties jointly, shall be the separate property of Ernest H. Mills; and upon timely payments of said property settlement payments above mentioned, that she will make no further claim upon, nor assert any interest in any of the property, whether real or personal, of Ernest H. Mills, including but not limited to all real estate, whether shown in the attached Quit Claim Deed or not, cattle, farm machinery and equipment, cash, stocks, bonds, and money in banks.  Upon full and complete payment of the property settlement above mentioned Nell Mills will execute her good, sufficient and recordable release of the lien above referred to.4. Nell Mills agrees that at the time that the decree of divorce is granted in said action that she will execute to Ernest H. Mills her good and sufficient Quit Claim Deed to all*186  of the real property owned by the said Ernest H. Mills and to the homestead of the parties hereto which is owned by them jointly, a copy of said Quit Claim Deed being hereto attached as Exhibit "A" and made a part hereof.*611  5. It is further understood by and between the parties hereto that this contract and agreement shall become effective only from and after the approval hereof by the Judge of the District Court of Creek County, if and when a decree of divorce is entered by said court in the action above mentioned.6. This agreement shall extend to and be binding upon the heirs, devisees, personal representatives, and assigns of the parties hereto.In Witness Whereof, the parties hereto have hereunto set their hands, the day and year first above written.(S) Nell MillsNell Mills,Party of the First Part.(S) Ernest H. MillsErnest H. Mills,Party of the Second Part.At about the time this "property settlement" agreement was entered into petitioner was advised by his accountant that he could deduct from his gross income as "alimony" the cash payments set out in the agreement as long as such payments were to be made over a period in excess of 10 years.  Also, at about*187  the time of the execution of the property settlement agreement, petitioner told his wife, Nell Mills, that she would receive $ 90,000 "tax-free" under the agreement.  Both petitioner and Nell Mills were represented by the same attorney in the divorce action, one Harry McMillan of Bristow, Okla.On August 24, 1959, the divorce action was heard by the Creek County District Court and the divorce was granted.  The decree of divorce stated, in part:The Court having heard the sworn testimony of both plaintiff and defendant in open Court, having personally examined both parties under oath, and being otherwise fully and completely advised in the premises, finds that all the material allegations of plaintiffs petition are true;The Court further finds that the defendant is fully aware of her rights and obligations in this matter, and in particular, of her right to counsel, which she waives in open Court.The Court has further examined carefully the property settlement and agreement entered into by the parties to this action dated August 21, 1959, and finds the same to be just, fair and equitable in all respects.  The Court theretofore finds that said property settlement and division as set*188  forth in said written agreement should be confirmed and approved.  The Court finds that pursuant to said property settlement and agreement and plaintiff has this date in open Court presented and delivered to the defendant a Cashier's Check in the sum of $ 30,000.00.Further it is the finding of this Court that the plaintiff is entitled to a decree of divorce from the defendant.It Is Therefore Hereby Ordered, Adjudged and Decreed by the Court that the plaintiff be and he is hereby granted a decree of absolute divorce from the defendant, and that the marital relationship heretofore existing between plaintiff and defendant be, and the same is hereby dissolved, set aside and held for naught; provided that this portion of this decree shall not take effect for six months from this date.*612  It Is Further Ordered and Decreed that the property settlement agreement entered into by and between the parties under date of August 21, 1959, a photostatic copy of which is hereto attached, is hereby in all respects approved and confirmed.  It is further ordered that the provisions of said agreement be and the same are hereby incorporated in and made a part of this decree, the same as though*189  said provisions were copied and set out herein verbatim.  The Court specifically decrees a lien upon the real estate now owned by the plaintiff with the exception of the following described property located in Creek County, Oklahoma, which the parties hereto have agreed may be exempted from the operation of said lien, to wit:The Southeast Quarter (SE/4) of the Northeast Quarter (NE/4) of Section Thirty (30), Township Fifteen North (15N), Range Nine East (9E), andFive (5) acres in the Southwest corner of the Southwest Quarter (SW/4) of the Northwest Quarter (NW/4) of Section Thirteen (13), Township Fourteen North (14N), Range Ten East (10E).Said lien to be for the purpose of securing to the defendant, the faithful performance by the plaintiff of his obligation undertaken under the provisions of said property settlement and division to pay to the defendant the balance of her share of said property division in fifteen equal annual payments of $ 4,000.00, on or before the 31 day of August of each year beginning August 31, 1960.  Upon final and complete performance of said obligation by the plaintiff, the lien hereby decreed shall forthwith and without further order be released, set*190  aside and held for naught; and defendant shall thereupon execute to the plaintiff her good, sufficient and recordable release of said lien.In accordance with the obligations imposed on petitioner by the divorce decree, petitioner paid Nell Mills the following amounts during the years here in issue:TaxableAmountyearpaid1959$ 30,00019624,00019634,00019644,000During the years petitioner and Nell Mills were married, and at the time of the trial herein, petitioner worked as a rancher.  Petitioner's father, Ethan A. Mills, came to Creek County, Okla., in 1895, and by 1930 had acquired approximately 16,000 acres of nearly contiguous tracts of land located in T. 14 and 15 N., R. 9 and 10 E., Creek County, Okla.  In 1930, after petitioner and Nell were married, petitioner entered into a partnership with his father, Ethan A. Mills (Ethan), his mother, Edith N. Mills (Edith), and his sister, Lucy Mae Mills (later (Lucy Mae) Dial).  The partnership, known as Ethan A. Mills &amp; Co., utilized the entire 16,000 acres of ranchland acquired by Ethan for cattle operations.  Petitioner received a salary from the partnership as well as a one-fourth interest in the profits *191  of the ranch. At the time of the formation of the partnership in 1930 there were approximately 1,000 head of cattle on the ranch.Shortly after petitioner and Nell were married in 1930, Ethan deeded approximately 4,000 acres of the 16,000 acre ranch to petitioner, *613  Lucy Mae, and Edith.  No consideration was paid for the transfer and each held an undivided one-third interest in the land conveyed by Ethan.  In 1939, Ethan conveyed the balance of the 16,000-acre ranch (i.e., 12,000 acres) to petitioner, Edith, and Lucy Mae.  In 1944, petitioner, Edith, and Lucy Mae reconveyed to Ethan an undivided one-fourth interest in the 16,000 acres. After this transfer, Ethan, Ernest, Edith, and Lucy Mae were tenants in common of the 16,000 acres.In 1951 Nell Mills filed suit for divorce against petitioner.  The suit was later dismissed upon reconciliation of the parties.  Thereafter, petitioner, Ethan, Edith, and Lucy Mae made, executed, delivered, and recorded four partition deeds of the surface of the 16,000 acre ranch. In each of the partition deeds Ethan A. Mills, Edith H. Mills, Lucy Mae Dial (Mills), and Ernest H. Mills are described as "the owners, in equal shares" of the 16,000*192  acres. In each of the conveyances made to Ethan, Edith, and Lucy Mae, respectively, the following language appears: "That the undersigned, * * * Ernest H. Mills (joined herein by his wife, Nell B. Mills) * * * hereby sell and convey" the interest being conveyed. In each of these deeds the signature of Nell Mills appears.  In the partition deeds to petitioner, Ethan, and Edith, it is noted that "Lucy Mae Dial (joined herein by her husband, C. E. Dial) * * * hereby sell and convey" the interest being conveyed. The signature of C. E. Dial appears in these deeds. As a consequence of the partitioning, petitioner was deeded 4,200 acres of the ranch. The balance of the acreage was divided among Ethan, Edith, and Lucy Mae.Upon the partitioning of the 16,000 acres the partnership of Ethan A. Mills &amp; Co., which theretofore included the petitioner, was dissolved, and the petitioner received 200 head of cattle as his share of the 1,000 head of the partnership cattle.In 1952, Ethan A. Mills bought 80 acres of land in E 1/2 NE 1/4 sec. 28, T. 14 N., R. 10 E., Creek County, Okla., and conveyed the same to Ernest H. Mills.In addition to the foregoing interests, *193  in 1944 petitioner was given 80 acres of land by his father, whereon petitioner and Nell lived as their "homestead." This property was sold to Ethan A. Mills in 1954 (for an undisclosed amount), and the proceeds of the sale were used to purchase a 40-acre homestead in the SE 1/4 NE 1/4 sec. 30, T. 15 N., R. 9 E., Oklahoma City, Okla.  The title to this property was taken in the names of Ernest H. Mills and Nell Mills, as joint tenants.  This latter homestead (the 40 acres) was purchased for $ 15,000 or $ 18,000 in 1954; substantial improvements were thereafter made to the property while it was owned by petitioner and Nell; it was offered for sale at $ 30,000 by petitioner after the "property *614  settlement agreement"; and it was finally sold in 1962 for $ 25,000.During the years of their marriage, Nell performed the ordinary duties of a housewife such as housekeeping, cooking, etc.  In addition, she cared for and raised chickens for household consumption, fed horses daily that were used in the ranching operation, acted as a "fire watch," and, on occasion, carried instructions to the field-workers when her husband was unable to do so.  On occasion she*194  drove a farm pickup truck to nearby towns for supplies such as seed, salt, and baling wire.Nell Mills brought no separate property to her marriage to petitioner.  During the years 1937 to 1940 she worked as a schoolteacher, earning $ 810 per year.  At the time of the divorce action in August 1959, petitioner held the interests in the real property described above as well as various items of personal property such as furnishings, farm implements, machinery, and other equipment used in the ranching operation.Based on the view that the payments made pursuant to the settlement agreement and divorce decree were deductible as alimony payments under sections 71 and 215, I.R.C. 1954, petitioner claimed deductions as follows on his individual income tax return for 1959, and joint returns of himself and present wife for the taxable years 1962, 1963, and 1964:TaxableyearAmount1959$ 9,00019624,00019634,00019644,000The claimed deduction for 1959 was limited by petitioner to $ 9,000 in accordance with the provisions of sections 71(c)(2) and 215 limiting the deduction to 10 percent of the $ 90,000 principal sum due on the installment obligation.In his statutory notices*195  of deficiency, the Commissioner disallowed the deductions claimed on the ground that the payments were made in satisfaction of an amount payable for a property settlement and were not includable in the income of petitioner's former wife, Nell Mills.Prior to the issuance of the statutory notices involved in this case, the Commissioner, inconsistently with his position here, took the position in the related case of Nell Mills for the taxable years 1959, 1960, and 1961 that she was taxable on alimony payments received from petitioner to the extent of $ 9,000 in 1959 and $ 4,000 each in the years 1960 and 1961.  She had not included the amounts received as gross income in her income tax returns for those years.  *615  She paid the deficiencies and interest for these years, and thereafter brought suit for refund in the U.S. District Court, Northern District of Oklahoma, to recover the amounts alleged to have been illegally and erroneously collected.  In that case, Nell Mills v.United States, (N.D. Okla. 1965; 16 A.F.T.R. 2d 5536, 65-2U.S.T.C. par. 9627), remanded 372 F. 2d 693 (C.A. 10), on remand (N.D. *196  Okla. 1967; 20 A.F.T.R. 2d 5205, 67-1U.S.T.C. par. 9151), the U.S. District Court for the Northern District of Oklahoma ultimately held that Nell Mills was entitled to recover on her claim for refund.OPINIONThe question for decision is whether petitioner's payments to his former wife pursuant to the divorce decree and "property settlement" agreement are deductible under section 215, I.R.C. 1954, as alimony described in section 71, I.R.C. 1954.  The Commissioner has denied the claimed deductions on the grounds (a) that the payments were made solely in satisfaction of the wife's property rights and were therefore not alimony under the above statutory provisions; and (b) that, in any event, the payments are not deductible under section 215 because a prior judicial decision held that the payments here in issue were not includable in the gross income of the wife.  See Mills v.United States, (N.D. Okla. 1967; 20 A.F.T.R. 2d 5205, 67-1U.S.T.C. par. 9151). Since we find for the Commissioner on the first ground we do not consider the second.It is well settled that where, upon divorce or separation, *197  there is a division of property or where a husband makes payments in satisfaction of the property rights of his wife, the amounts received by his wife are capital in nature and neither includable in her gross income under section 71 nor deductible by the husband under section 215.  See Ann Hairston Ryker, 33 T.C. 924, 929; Wilma Thompson, 50 T.C. 522, 525; Brantley L. Watkins, 53 T.C. 349; and Lewis B. Jackson, Jr., 54 T.C. 125.At issue here is whether the divorce decree and "property settlement" incorporated therein effected a division of joint property.  Petitioner argues that there was no joint property subject to division because essentially all of the property acquired during marriage was his separate property at the time of divorce. The Commissioner, however, contends that, by operation of Oklahoma law, Nell Mills acquired a joint interest in the property acquired during her marriage to petitioner and that the payments in issue were in respect of that interest.  We agree with the Commissioner.Under Oklahoma law, the wife acquires a vested interest in*198  property jointly acquired during marriage. Collins v. Oklahoma Tax *616 , 446 P. 2d 290, 295 (Okla. 1968). According to the Supreme Court of Oklahoma, "The nature of the wife's interest is similar in conception to community property of community property states, and is regarded as held by a species of common ownership." Collins v. Oklahoma Tax Commission, supra at 295. 1 In the event of divorce or marital discord Oklahoma statutory law, Okla. Stat. Ann. tit. 12, sec. 1278, requires that the property jointly acquired during coverture be divided between the parties in a "just and reasonable" manner.  The statute provides in pertinent part:Sec. 1278.  Disposition of property -- Restoration of wife's maiden name -- AlimonyAs to such property, whether real or personal, as shall have been acquired by the parties jointly during their marriage, whether the title thereto be in either or both of said parties, the court shall make such division between the parties respectively as may appear just and reasonable, by a division of the property in kind, or by setting the same apart to one of the parties, *199  and requiring the other thereof to pay such sum as may be just and proper to effect a fair and just division thereof.  In case of a finding by the court, that such divorce should be granted on account of the fault or aggression of the wife, the court may set apart to the husband and for the support of the children, issue of the marriage, such portion of the wife's separate estate as may be proper.  * * **200 Whether the wife acquired a joint interest in the property accumulated during their marriage depends on the meaning of Oklahoma's concept of "jointly acquired property." In Collins, 446 P. 2d at 295, the Supreme Court of Oklahoma stated that:Property acquired during married life as the result of industry, economy and business ability is the jointly acquired property subject to the equitable division required under the statute. Tobin v. Tobin, 89 Okl. 12, 213 P. 884. If property has been acquired by joint effort during marriage the wife has a vested interest therein which is not forfeited even though she may be at fault. Davis v. Davis, 61 Okl. 275, 278, 161 P. 190, 193.Where, as in this case, separate property is brought by one spouse to the marriage, joint contributions toward the maintenance and preservation of that property create a joint interest in such propery.  Haynes v. Haynes, 197 Okla. 221, 169 P. 2d 563; Raines v. Gifford, 370 P. 2d 1 (Okla. 1962). Also, the "enhanced*201  value resulting from joint efforts, skill or funds of both working together constitutes *617  jointly acquired property subject to division." Collins v. Oklahoma Tax Commission, supra at 295.Though the parties are in agreement on the foregoing principles of Oklahoma law, they disagree as to whether Nell Mills acquired any interest in the property accumulated during marriage through the contribution of her "efforts, industry, or skills." Petitioner claims that since essentially all the property accumulated during marriage was acquired by gift from members of his family, such property was at all times his separate property. Further, he argues that during his marriage to Nell her "efforts" were limited to those of an ordinary housewife, which, he claims, were insufficient to give her an interest in his otherwise separate property. We disagree.To be sure, the property acquired by gift during petitioner's marriage was in the first instance his separate property. We find, however, that Nell's contribution to the success and growth of petitioner's business was sufficient under Oklahoma law to give her a joint interest in all the property acquired*202  during marriage by gift or otherwise.  During the years of his marriage to Nell, petitioner engaged in ranching operations on land owned in common with members of his family and, after 1951, individually.  During these years he and Nell resided on or near the ranch. And, Nell's activities during these years were more extensive than those of the ordinary housewife not residing on a ranch or farm. Cf. Funk v. Funk, 319 P. 2d 599 (Okla. 1957); Roberts v. Roberts, 357 P. 2d 980 (Okla. 1960). Her activities included the daily feeding of horses used in the ranching operation, carrying messages and instructions to ranch employees on behalf of petitioner, driving to nearby towns to pick up materials needed on the ranch, and keeping "fire watch." Though her activities in this respect may not have been as extensive as those of petitioner, she nonetheless was an important auxiliary to her husband in the conduct of his ranching operations.  On the whole, we think that the contributions made by Nell Mills as an active "farm wife" were in excess of the "joint efforts of a mere housewife, and, in terms of Oklahoma law, such *203  activity fairly justified a division of the property accumulated during her marriage to petitioner.  See Tobin v. Tobin, 213 P. 884, 889 (Okla. 1923).Petitioner has argued that there has been no showing in the trial herein that there was any enhancement in the value of the ranchlands acquired during marriage and that, accordingly, no property interest could have been attributed to Nell's efforts.  The first answer to this contention is that petitioner, not the Commissioner, bears the burden of proving that an enhancement in value did not occur during the 29 years of his marriage to Nell.  Welch v. Helvering, 290 U.S. 111. *618  Petitioner clearly failed to carry his burden here.  Since he did not introduce any evidence as to the values of the ranch property in question, we must uphold the Commissioner's determination.  In any event, we think that the continuing contributions of petitioner's wife during their 29 years of marriage helped maintain and preserve the values of the ranch property.  In the light of such contributions, we think the enhancement of the property's value would have been unnecessary*204  to justify an equitable division of property.  Cf. Raines v. Gifford, supra; Haynes v. Haynes, supra.Finally, we note that the terms of the divorce petition, divorce decree, and the property settlement incorporated into the divorce decree were entirely consistent with our finding that the payments in question were in respect of a division of property. Though the labels appearing in such documents are not controlling, Ann Hairston Ryker, supra; Blanche Curtis Newburry, 46 T.C. 690, 694; Wilma Thompson, supra;William M. Joslin, Sr., 52 T.C. 231, 236, the language used confirms our views that the decree was intended to effect a division of joint property.  Cf. Campbell v. Lake, 220 F. 2d 341 (C.A. 5).  The petition for divorce stated that the parties wished the court to approve "a written agreement for the settlement and division of the real and personal property acquired by the parties during their marriage." The "property settlement agreement" *205  referred to stated that "the reasonable value of Nell Mills' fair share of the property now owned by the parties, jointly or severally, which was acquired during their married life, is $ 90,000.00." And, finally, the divorce decree noted:The Court has further examined carefully the property settlement and agreement entered into by the parties * * * and finds the same to be just, fair and equitable in all respects.  The Court theretofore finds that said property settlement and division * * * should be confirmed and approved.Against this background we conclude that the payments involved here were made pursuant to a property settlement and are not deductible by petitioner.Decision will be entered for the respondent.  Footnotes1. Collins v. Oklahoma Tax Commission, 446 P. 2d 290, was the counterpart (involving Oklahoma taxes) to the Federal tax problem relating to the same property settlement which was originally decided by this Court in George F. Collins, Jr., 46 T.C. 461, affirmed 388 F. 2d 353 (C.A. 10).  After the foregoing decision by the Supreme Court of Oklahoma, the Supreme Court of the United States remanded the Federal tax case to the Court of Appeals for further consideration in the light of the opinion of the Supreme Court of Oklahoma.  393 U.S. 215. Thereafter, the Court of Appeals rendered an opinion, following the decision of the Oklahoma court. Collins v. Commissioner, 412 F. 2d 211↩ (C.A. 10).